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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

  AMERICAN SENIOR COMMUNITIES,                    )
  L.L.C.,                                         )
                                                  )
                              Plaintiff,          )
                                                  )
                         v.                       )    No. 1:17-cv-03273-TWP-DML
                                                  )
  JAMES BURKHART, et al.                          )

                         Order Regarding Discovery Disputes

           Under Fed. R. Civ. P. 37(a)(1) and S.D. Ind. L.R. 37-1(a), counsel must confer

  in good faith to resolve a discovery dispute before involving the court in the dispute.

  If counsel have exhausted those efforts without resolving the dispute they must

  seek a discovery conference with the magistrate judge before the filing of a formal

  motion to compel or contested motion for protective order in the manner set forth

  below:

           a)    Discovery disputes generally. Except in the circumstances covered by

  (b) and (c) below, counsel must (1) jointly or unilaterally file a motion for a discovery

  conference, setting forth very briefly and without argument the nature of the

  dispute or (2) jointly contact the magistrate judge’s chambers to request a

  conference. If the latter, the court staff may direct counsel to provide a brief

  description of the dispute. Counsel must not unilaterally contact the magistrate

  judge’s chambers regarding a discovery dispute absent compelling circumstances.

           b)    Disputes involving the failure to make any timely response whatsoever

  to a written discovery request. In this circumstance, the requesting party must still
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  comply with the requirements of Fed. R. Civ. P. 37(a)(1) and S.D. Ind. L,R. 37-1(a)

  to confer in good faith to resolve the matter, but counsel for the requesting party is

  not required to seek a discovery conference with the magistrate judge before filing a

  motion to compel.

        c)        Disputes involving an objection raised during a deposition that

  threatens to prevent the completion of the deposition. Counsel must telephone the

  magistrate judge’s chambers to determine whether the magistrate judge is available

  to hear argument and rule on the objection on the record of the deposition.

  Although S.D. Ind. 37-1 provides that pro se parties are not generally subject to the

  requirements of the rule, Magistrate Judge Lynch encourages the parties to follow

  this procedure for deposition objections involving pro se litigants or deponents if the

  objection threatens to prevent the completion of the deposition.

             So ORDERED.

             Date: 3/22/2019               ____________________________________
                                              Debra McVicker Lynch
                                              United States Magistrate Judge
                                              Southern District of Indiana




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